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IN THE UNITED STATES BANKRUPTCY COURT FOR THE
DISTRICT OF DELAWARE

In re: )
VIRGIN ORBIT, LLC. ) e- S&S
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Debtor. ) Case No. 23.j6405 ©
) mee
The debtor in this case, along with the last four digits of the debtor's — ee
federal tax identification number, 1s° Virgin Orbit, LLC (9648). The Aox 2
debtor's mailing address for purposes of this case is 251 Little Falls Orive, ) >a =
Wilmington, OE 19808. The chapter 11 cases of the debtor's affiliates, £5
Virgin Orbit National Systems, LLC (3801): Vieco USA, Inc. (0492), Virgin ) =S nN
Orbit Holdings, Inc (6914); and JACM Holdings, Inc (1445}, were closed ) i~ oo
as of [#], 2023 All motions and contested matters that remained open as )
of the closing of such cases, or that are opened after the date thereof, are
administered in the remaining chapter 11 case of Virgin Orbit, LLC. )
Chapter 11

NOTICE OF OBJECTION TO

the order Confirming the Fifth Amended Joint Chapter 11 Plan of Virgin Orbit Holdings, Inc. and
its Debtor Affiliates, Order Signed on 7/31/2023, Ref Doc No. 604.

Upon the consideration of 11 U.S.C. § 1144.1 (“Objection for fraud”), Tamas Hampel as an
owner of 763,044 cancelled shares in the Debtor company Virgin Orbit ("VO"), respectfully
requests the revocation of the confirmation of the Debtors’ bankruptcy plan as the confirmation
order, especialty the cancellation was procured by a fraud.

Cancellation of the shares is a fraud since Virgin Investment Limited received a $3.7 billion
assets for its $74 100.000 secured credit as follows.

The key vatue in the company is the unique IP assets (nothing etse}, namely the Launcher One.
“IP Assets” means all intellectual property assets owned by the Debtors (excluding any
intetlectual property assets that were sold pursuant to the Existing Sale Orders). including for the

avoidance of doubt, the rocket engine and rocket avionics system intellectual property.
(Confirmed Bankruptcy Plan)

“In connection with the Chapter 11 Case of the Company, the Board has determined that it is in
the best interests of the Company to consummate the transactions under that certain senior
secured super-pnonty debtor-in-possession credit facility consisting of (1) a new money delayed
draw term loan facility denominated in U.S Dollars in an aggregate principal amount not to
exceed $31,600,000 and (ii) term loans issued thereunder in substitution and exchange of certain
prepetition notes in an aggregate pnncipal amount of $42,500,000 pursuant to that certain Senior
Secured Super priority Debtor-In-Possession Term Loan Credit Agreement, by and among, Virgin
Orbit Holdings, Inc. as DIP Facility Borrower, its subsidiaries party thereto as Guarantors, and
Virgin Investments Limited (“VIL") as DIP Lender..." (Chapter 11 Voluntary Petition Fee Amount
$1738. Filed by Virgin Orbit Holdings, Inc.)

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“Class 3 — Prepetition Secured Notes Claims Treatment unless the Prepetition Secured
Noteholder agrees to a less favorable treatment), on the Effective Date, the Prepetition Secured
Noteholder shall receive ... (iii) the aghts to all IP Assets.” (Confirmed Bankruptcy Plan)

"The SPAC — co-led by George Mattson, who previously co-led Goldman Sachs’ global
industrials group, and former PerkinElmer chairman and CEO Gregory Summe — values Virgin
Orbit at $37 billion in equity.” (httos://www cn m/202 1/08/23/richard-bransons-virgin-orbit-

$pac-public-at-3point?-billion-valuation html)

| was very confident about the future of Virgin Group, the horizontal launches, especially of the
honzontal satellite launch all over the word in the US’ alliance countries by VO development,
Launcher One. It is now a demonstrated and working technology since, as far as | am concerned,
only a filter caused the failure of the satellite launch in Comwall.

1. VO communicated that it will continue to operate and will launch satellites in the near future as
the technology, Launcher One is finished. VO also officially communicated, sale or investments
are under negotiation with potential buyers and investors. In the official documents, VO
management declared that there were investors willing to maintain the company without selling it
in pieces. “Ultimately, the Debtors received over 30 indications of interest, including from multiple
parties that proposed continuing to operate the business as a going concem.”

2. According to news articles and the shared (Krotl} time sheet of the law firm Vinson & Eikins
LLP, advisor of the management of Virgin Orbit National Defense, it seems Pentagon is keen to
cooperate with VO and willing to maintain the horizontal satellite launch technology.

“The Pentagon showed a keen interest in the company and the promise that it would be able to
launch small satellites quickly “(https /Avww.washingtonpost.corvtechnology/2023/04/19/virgin-

orbit-bankryuptcy-plans/)

3. My understanding on the future of VO's horizontal satellite launch system: Zakaria Mahmud,
professor at Lake Superior State University also believes in this horizontal launch technology:
“But forget about ideas of the Upper Peninsula transforming into Cape Canaveral, with its
sprawling footprint and high-profile, million dollar rocket taunches The Upper Peninsula will likely
see more horizontal launches inte orbit. Horizontal launch needs a lot less ground station,
because the satellite would be on a B-52 or some sort of airplane, they will be already flying in

the sky and then it will launch from ineree (hitos:/Avww. northemontariobusiness. comiobs-of the:
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4. My understanding on the future of VO's horizontal satellite launch system This video from the
UK Space Agency confirms that horizontal satellite launch (beside of the vertical launch) will be a

basis of the space strategy of the UK. (https:/Avww. youtube com/watch?v=llHwiye63Cq)

Within 5 years’ time, honzontal satellite launches will be valuable and current method word wild
Therefore, | was very confident to hold or buy VO shares On 2 August the confirmation of the
bankruptcy plan with the cancellation of the shares and by giving all (P assets to Virgin USA
Management Inc. via Virgin Investment Limited (‘VIL") may be a fraud. | understand VIL is a
secured creditor, but at the same time, it has a significant influence on the operation of the
company and the bankruptcy procedure. It shows to shareholders that the VO bankruptcy plan is
not about the satisfaction of external creditors (e g an external bank or external vendors), but the
majority owner using Bankruptcy plan under Chapter 11 and secured credits to cancel the shares
of the minority owners. | was also shocked when the bankruptcy court accepted the plan with
these terms. This confirmed bankruptcy plan has just undermined the reputation and trust in the
legal system of the USA. It undermines the trust in principles such as the right to property, rule of
law, minority shareholder protection and rights. This effective bankruptcy plan makes it difficult to
attract investors in the space sector anymore causing an obstacle for the development.

Legal basis “Revocation of the confirmation order is an undoing or cancellation of the
confirmation of a plan A request for revocation of confirmation, if made at all, must be made by a
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party in interest within 180 days of confirmation. The court, after notice and heanng, may revoke
a confirmation order if and only if the (confirmation} order was procured by fraud.” 11 U.S.C §
1144

As a conclusion, | kindly request the revocation of the confirmation of the Debtors’ bankruptcy
plan as the confirmation order, especially the cancellation was procured by a fraud.

Altachments: 1.) trading history (IBKR), 2.) trading history (KBC Equitas)
Date: 21 December 2023

Kind regards,

Or. Tamas Hampel

email: taras.hampel@qmail com
phone: +36 20 390 20 90

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